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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

vs. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant
AFFIDAVIT OF SERVICE

 

I, Carlos Canas, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, and Complaint in the above
entitled case,

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 10/25/2017 at 10:55 AM, I served Identity Europa, Inc. a/k/a Identity Evropa c/o LegalZoom.com, Inc., Registered Agent
with the Summons, Civil Cover Sheet with Addendum, and Complaint at 101 North Brand Boulevard, I 1th Floor, Glendale,
California 91203 by serving Mieko B., Designated Agent, authorized to accept service.

Mieko B. is described herein as:

Gender: Female Race/Skin: White Age: 25+ Weight: 130 Height: 5'5" Hair: Brown Glasses: Yes

! do solemnly declare and affirm under penalty of perjury that | have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

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Executed On Carlos Canas

 

Client Ref Number:N/A
Job #: 1534658

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
